     Case: 1:22-cv-01032 Document #: 51 Filed: 02/07/23 Page 1 of 1 PageID #:709

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Jane Doe
                                       Plaintiff,
v.                                                         Case No.: 1:22−cv−01032
                                                           Honorable John F. Kness
University Of Chicago, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 7, 2023:


        MINUTE entry before the Honorable John F. Kness: Plaintiff's Motion to compel
[48] is dismissed as moot in light of the Notification of Affiliate [49]. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
